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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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  UNITED STATES OF AMERICA,

                                                        AMENDED
                   -against-                            MEMORANDUM & ORDER
                                                        23-CR-82(EK)
  OZY MEDIA, INC.,

                          Defendant.
 ------------------------------------x
 ERIC KOMITEE, United States District Judge:

             WHEREAS, on or about July 16, 2024, Ozy Media, Inc.

 (the “defendant”) was convicted after a jury trial of Counts

 One and Two of the above-captioned Indictment, charging

 violations of 18 U.S.C. § 371, to wit: conspiracy to violate

 15 U.S.C. §§ 78j(b) and 78ff; and 18 U.S.C. § 1349, to wit,

 conspiracy to violate 18 U.S.C. § 1343; and

             WHEREAS, the Court has determined that pursuant to 18

 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c), the defendant

 shall forfeit any property, real or personal, constituting, or

 derived from, proceeds obtained directly or indirectly as a

 result of the defendant’s violations of 18 U.S.C. §§ 371 and

 1349, and/or any substitute assets, pursuant to 21 U.S.C. §

 853(p), which shall be reduced to a forfeiture money judgment

 (the “Forfeiture Money Judgment”).

             NOW, THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND

 DECREED as follows:
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             1. The defendant shall forfeit to the United States

 the full amount of the Forfeiture Money Judgment, pursuant to 18

 U.S.C. § 981(a)(1)(C), 21 U.S.C. § 853(p), and 28 U.S.C. §

 2461(c).

             2. The full amount of the Forfeiture Money Judgment

 is $59,590,357.37.

             3. All payments made towards the Forfeiture Money

 Judgment shall be made by a money order, or certified and/or

 official bank check, payable to the U.S. Marshals Service with

 the criminal docket number noted on the face of the check. The

 defendant shall cause said payment(s) to be sent by overnight

 mail delivery to the Asset Recovery Section, United States

 Attorney’s Office, Eastern District of New York, 271-A Cadman

 Plaza East, Brooklyn, New York 11201, with the criminal docket

 number noted on the face of the instrument. The Forfeiture Money

 Judgment shall be paid in full 30 days after the filing of this

 amended Order (the “Due Date”).           Any payment or other collection

 of the Forfeiture Money Judgment entered against defendant

 Watson shall be credited toward the Forfeiture Money Judgment

 entered against the defendant.




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             4. If the defendant fails to pay any portion of the

 Forfeiture Money Judgment on or before the Due Date, the

 defendant shall forfeit any other property it owns up to the

 value of the outstanding balance, pursuant to 21 U.S.C. §

 853(p).

             5. Upon entry of this Order, the United States

 Attorney General or his designee is authorized to conduct any

 proper discovery in accordance with Fed. R. Crim. P. 32.2(b)(3)

 and (c). The United States alone shall hold title to the monies

 paid by the defendant to satisfy the Forfeiture Money Judgment

 following the Court’s entry of the judgment of conviction.

             6. The defendant shall fully assist the government in

 effectuating the payment of the Forfeiture Money Judgment.

             7. The entry and payment of the Forfeiture Money

 Judgment is not to be considered a payment of a fine, penalty,

 restitution loss amount or a payment of any income taxes that

 may be due, and shall survive bankruptcy.

             8. Pursuant to Fed. R. Crim. P. 32.2(b)(4)(A) and (B),

 this Order, and any amendment(s) thereto, shall become final as

 to the defendant at the time of sentencing and shall be made

 part of the sentence and included in the judgment of conviction.




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 This Order shall become the Final Order of Forfeiture, as

 provided by Fed. R. Crim. P. 32.2(c)(2) and (e)(1). At that

 time, the monies and/or properties paid toward the Forfeiture

 Money Judgment shall be forfeited to the United States for

 disposition in accordance with the law.

             9. This Order shall be binding upon the defendant and

 the successors, administrators, heirs, assigns and transferees

 of the defendant, and shall survive the bankruptcy of any of

 them.

             10. This Order shall be final and binding only upon

 the Court’s “so ordering” of the Order.

             11. The Court shall retain jurisdiction over this

 action to enforce compliance with the terms of this Order and to

 amend it as necessary, pursuant to Fed. R. Crim. P. 32.2(e).

             12. The Clerk of the Court is directed to send, by

 inter-office mail, three (3) certified copies of this executed

 Order to the United States Attorney’s Office, Eastern

 District of New York, Attn: FSA Law Clerk Jennifer Lai, 271-A

 Cadman Plaza East, Brooklyn, New York 11201.




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             SO ORDERED.




                                         /s/ Eric Komitee
                                       ERIC KOMITEE
                                       United States District Judge


 Dated:      February 26, 2025
             Brooklyn, New York




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